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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                     Case Number 8:02CR266-001

                                                       USM Number 17945-047

LARRY SPICER
                       Defendant
                                                       JULIE B. HANSEN

                                                       Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                        (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violations of two of the Mandatory Conditions of the term of
supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                              Date Violation
        Violation Number                 Nature of Violation                   Concluded


 1                                 Distribution of                           January 13, 2009
                                   Methamphetamine

 2                                 Possession of                             January 13, 2009
                                   Methamphetamine

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegations 3,4,5,6 are dismissed on the motion of the United States.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the Court and United States attorney of any material change in the
Defendant’s economic circumstances.
                                                                Date of Imposition of Sentence:
                                                                              September 3, 2009

                                                                         s/ Laurie Smith Camp
                                                                         United States District Judge

                                                                        September 4, 2009
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Defendant: LARRY SPICER                                                                   Page 2 of 3
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                                       IMPRISONMENT

       The Defendant is hereby committed to the custody of the United States Bureau of Prisons
to be imprisoned for a total term of sixty (60) months to be served concurrently with the
sentence imposed in Pottawattamie County Iowa District Court, Case No. FECR045329, with
no supervised release to follow.

        The Court makes the following recommendations to the Bureau of Prisons:

1.      That the Defendant participate in the 500-hour Comprehensive Drug Treatment Program
        or any similar drug treatment program available.

2.      Defendant shall be given credit for time served from 7/28/09.

3.      That the defendant have a medical evaluation and be placed in an appropriate medical
        facility.

        The Defendant is remanded to the custody of the United States Marshal.

                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the Defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed the
Acknowledgment of Receipt , above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                               CRIMINAL MONETARY PENALTIES


       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                          Total Fine                Total Restitution
  $200.00 paid, receipt                             $0.00                       $0.00
 #826082


The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:



                                                    FINE

        No fine imposed.

                                              RESTITUTION

        No restitution was ordered.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
